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FORM ordass7
                                    UNITED STATES BANKRUPTCY COURT
                                           Northern District of Florida
                                              Gainesville Division

In Re: Matthew Bruce Hintze                                           Bankruptcy Case No.: 12−10462−KKS
       SSN/ITIN: xxx−xx−4537
        Debtor
       Larina K. Hintze                                               Chapter: 7
       SSN/ITIN: xxx−xx−8057                                          Judge: Karen K. Specie
        Joint Debtor


                          ORDER APPROVING ACCOUNT, DISCHARGING TRUSTEE,
                                 RELEASING BOND, AND CLOSING CASE

        It appearing to the Court that Theresa M. Bender , the Trustee in said cause has reduced the property and
effects of the said debtor's estate to cash; that the said Trustee has made distribution thereof as required by the order
of this Court and has rendered a full and complete account thereof, and that said Trustee has performed all other and
further duties required of him in the administration of said estate;

        It is ordered that the accounts of said Trustee be and they hereby are approved and allowed; that the Trustee be
and he hereby is discharged and relieved of his trust; and that the bond of the said Trustee be and it hereby is canceled
and that the surety or sureties thereon be and they hereby are released from further liability thereunder, except any
liability which may have accrued during the time such bond was in effect.

       Accordingly, this case is hereby closed.

       DONE AND ORDERED at Tallahassee, Florida, April 18, 2018 .

                                                             /s/ Karen K. Specie
                                                             Karen K. Specie
                                                             U.S. Bankruptcy Judge
Service to:
    Debtor
    Debtor(s) Attorney
    Chapter 7 Trustee
    U.S. Trustee
